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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


 LATOYA BROWN; LAWRENCE BLACKMON;
 HERBERT ANTHONY GREEN; KHADAFY
 MANNING; QUINNETTA MANNING; MARVIN
 MCFIELD; NICHOLAS SINGLETON; STEVEN
 SMITH; BESSIE THOMAS; and BETTY JEAN
 WILLIAMS TUCKER, individually and on behalf of a                Civil Action No.
 class of all others similarly situated,                         3:17-cv-00347-WHB-LRA

                        Plaintiffs,
                                                                 ORAL ARGUMENT
                v.                                               REQUESTED

 MADISON COUNTY, MISSISSIPPI; SHERIFF
 RANDALL S. TUCKER, in his official capacity; and
 MADISON COUNTY SHERIFF’S DEPUTIES JOHN
 DOES #1 through #6, in their individual capacities,

                        Defendants.



                   PLAINTIFFS’ RESPONSE IN OPPOSITION
             TO DEFENDANTS’ MOTION TO EXCLUDE DESIGNATION
            OF REBUTTAL EXPERT WITNESS JUSTIN MCCRARY, PH.D.


       Plaintiffs Latoya Brown, Lawrence Blackmon, Khadafy Manning, Quinnetta Manning,

Nicholas Singleton, Steven Smith, Bessie Thomas, and Betty Jean Williams Tucker (“Plaintiffs”)

respectfully submit this Response in opposition to Defendants’ Motion To Exclude Plaintiffs’

Untimely Designation of New Expert Witness Justin McCrary, Ph.D. (ECF No. 316) (“Motion”)

in this civil rights action brought against defendants Madison County, Mississippi (“Madison

County”) and Sheriff Randall Tucker, sued herein in his official capacity (“Sheriff Tucker,” and
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with Madison County, “Defendants”). Pursuant to L.U. Civ. R. 7(b)(6)(A), Plaintiffs respectfully

request oral argument on Defendants’ Motion.1

        1.      Defendants’ Motion seeks to exclude as untimely the Rebuttal Expert Report of

Dr. Justin McCrary (“McCrary Rebuttal” or “McCrary R.R.”). In doing so, Defendants

completely ignore the Court’s February 27, 2018 Scheduling Order (ECF No. 202, “February 27

Scheduling Order”), which expressly states that the deadline for “any rebuttal expert reports

and/or declarations on behalf of Plaintiffs, and related disclosures, will be July 2, 2018.” In

accordance with the February 27 Scheduling Order, on March 14, 2018, Plaintiffs submitted the

Report of Dr. Bryan Ricchetti in support of their Motion for Class Certification (ECF No. 231-1).

In response, on May 8, 2018, Defendants submitted the Rebuttal Expert Report of Dwight

Steward, Ph.D. RE: Bryan Ricchetti, Ph.D. (ECF No. 267-16, the “Steward Report”). Thus, on

July 2, 2018, Plaintiffs properly submitted the McCrary Rebuttal in support of their Reply

Memorandum in Further Support of their Motion for Class Certification (ECF No. 304) and in

direct rebuttal to newly-raised arguments by Dr. Steward regarding the alleged lack of support

for Dr. Ricchetti’s methodology in academic literature.

        2.        Defendants suggest, without any support, that the February 27 Scheduling Order

only permits an expert who previously filed an initial report in support of Plaintiffs’ Motion for

Class Certification to then file a rebuttal report. This is wholly unsupported by the February 27

Scheduling Order, which clearly states in paragraph six that “any rebuttal expert reports”

submitted by Plaintiffs shall be submitted by July 2, 2018. Furthermore, Federal Rule of Civil



1
 Because the issues presented by Defendants’ Motion overlap with the issues presented by Plaintiffs’
pending Motion for Class Certification (ECF No. 231), Plaintiffs request that argument on the instant
Motion should be held jointly with argument on Plaintiffs’ Motion for Class Certification.




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Procedure 26(a)(2) imposes no requirement that a rebuttal expert be an initially disclosed expert

and courts in this District routinely hold that new experts may properly offer rebuttal reports.

       3.      The McCrary Rebuttal offers proper and timely rebuttal testimony in direct

response to new issues raised by Dr. Steward concerning the academic literature and

methodology for conducting statistical analyses of the relationship between crime and other

factors. In the Steward Report, Dr. Steward challenged Dr. Ricchetti’s statistical methodology

and his use of census tract data, claiming that it was unsupported by academic literature or

generally accepted methods for analyzing crime and racial discrimination. The McCrary Rebuttal

responds to and rebuts these incorrect assertions and therefore falls properly within the scope of

rebuttal testimony.

       4.      Even if the McCrary Rebuttal was not timely designated, its exclusion would be

inappropriate under the four factor test set out in Hamburger v. State Farm Mutual Automobile

Insurance Co., 361 F.3d 875 (5th Cir. 2004). First, Plaintiffs submitted the McCrary Rebuttal on

July 2, 2018 for the simple reason that the McCrary Rebuttal responds to the Steward Report,

which was submitted on May 8, 2018. Second, the McCrary Rebuttal is important because it

rebuts Dr. Steward’s unsupported opinions regarding the relevant academic literature and the

generally accepted methods for conducting statistical analysis related to racial discrimination and

crime. Third, Defendants will suffer no prejudice from the admission of the McCrary Rebuttal as

they never attempted to depose Dr. McCrary and have suffered no increase in costs or delays due

to the timing of Mr. McCrary’s disclosure. Finally, the availability of a continuance to cure any

prejudice in inapplicable here. Defendants waited for nearly a month to file this Motion after the

McCrary Rebuttal was submitted and then filed this Motion without conferring with Plaintiffs

beforehand or making any efforts to resolve consensually their ostensible timing concerns. This




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was contrary to the requirements set forth in Local Rule 37(a) and Paragraph 6(F)(4) of the Case

Management Order (ECF No. 30), which require parties to meet and confer before filing a

discovery motion like this one.

       5.      In support of this Response, Plaintiffs submit the accompanying Memorandum of

Law, which is incorporated herein as if set forth in full.


       WHEREFORE, for the reasons set forth herein and in Plaintiffs’ accompanying

Memorandum of Law, Defendants’ Motion should be denied.

       Respectfully submitted on this 20th day of August, 2018.



                                                   By: /s/ Joshua Tom     ___________
                                                       Joshua Tom

 SIMPSON THACHER & BARTLETT LLP                    AMERICAN CIVIL LIBERTIES UNION
 Jonathan K. Youngwood (pro hac vice)              OF MISSISSIPPI FOUNDATION
 Janet A. Gochman (pro hac vice)                   Joshua Tom (Miss. Bar No. 105392)
 Isaac Rethy (pro hac vice)                        233 East Capitol Street
 Kavitha S. Sivashanker (pro hac vice)             Jackson, MS 39201
 Nihara K. Choudhri (pro hac vice)                 (601) 354-3408
 Christopher K. Shields (pro hac vice)             JTom@aclu-ms.org
 Brooke Jarrett (pro hac vice)
 425 Lexington Avenue                              AMERICAN CIVIL LIBERTIES UNION
 New York, NY 10017                                FOUNDATION
 (212) 455-2000                                    Ezekiel Edwards (pro hac vice)
 jyoungwood@stblaw.com                             Jeffery Robinson (pro hac vice forthcoming)
 jgochman@stblaw.com                               125 Broad Street
 irethy@stblaw.com                                 New York, NY 10004
 kavitha.sivashanker@stblaw.com                    (212) 549-2610
 nchoudhri@stblaw.com                              eedwards@aclu.org
 christopher.shields@stblaw.com                    jrobinson@aclu.org
 bonnie.jarrett@stblaw.com
                                                   Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 20, 2018, I caused the foregoing RESPONSE IN

OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE PLAINTIFFS’ EXPERT

WITNESS JUSTIN MCCRARY to be electronically filed with the Clerk of the Court using the

CM/ECF system, through which copies have been served to:



 WISE CARTER CHILD & CARAWAY, P.A.              KATIE BRYANT SNELL, PLLC
 Michael B. Wallace (Miss. Bar No. 6904)        Katie Bryant Snell (Miss. Bar No. 103607)
 Charles E. Ross (Miss. Bar No. 5683)           P.O. Box 3007
 James E. Graves (Miss. Bar No. 102252)         Madison, Mississippi 39130-3007
 Charles E. Cowan (Miss. Bar No. 104478)        (601) 460-9800
 T. Russell Nobile (Miss. Bar No. 100682)       Katie@katiebryantsnell.com
 Post Office Box 651
 Jackson, MS 39205                              PETTIS, BARFIELD & HESTER, P.A.
 (601) 968-5534                                 J. Lawson Hester (Miss. Bar No. 2394)
 mbw@wisecarter.com                             Jason E. Dare (MSB No. 100973)
 cer@wisecarter.com                             4450 Old Canton Road, Suite 210
 jeg@wisecarter.com                             Jackson, Mississippi 39211
 cec@wisecarter.com                             (601) 987-5300
 trn@wisecarter.com                             lhester@pbhfirm.com
                                                jdare@pbhfirm.com
 CURRIE JOHNSON & MYERS, P.A.
 Rebecca B. Cowan (Miss. Bar No. 7735)
 P.O. Box 750
 Jackson, MS 39205
 (601) 969-1010
 bcowan@curriejohnson.com



                                            By: /s/ Joshua Tom
                                                Joshua Tom
